                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


GEORGE H. PETERS,

                     Plaintiff,
              v.                                           Case No. 05-C-0787

DAVID BRENNAN, CEO ASTRAZENECA LP;
ALLAN G. LAFLEY, CEO PROCTER &
GAMBLE DISTRIBUTING COMPANY;

                     Defendant.


         ORDER DENYING MOTION TO AMEND COMPLAINT AS MOOT,
  DIRECTING FILING OF AMENDED COMPLAINT, DENYING MOTION TO DISMISS,
      AND TRANSFERRING CASE TO WESTERN DISTRICT OF WISCONSIN

              Plaintiff, George H. Peters, filed this diversity action, asserting products liability

claims arising from use of “Omeprazole,” which is sold under the brand name “Prilosec.” In

the original complaint, filed July 22, 2005, Peters charged that two individuals, employed as

the Chief Executive Officers of Astrazeneca LP and Procter & Gamble Distributing Company,

were liable to him under theories of strict liability and negligence. Both defendants moved to

dismiss based on improper service of process, lack of personal jurisdiction, and improper

venue.

              On September 6, in response to the motions to dismiss, Peters moved to amend

the complaint and submitted an Amended Complaint and Jury Demand. The clerk’s office

docketed the motion and treated the Amended Complaint as an attachment. The Amended

Complaint adds claims against Astrazeneca LP and Procter & Gamble along with more

detailed allegations regarding the citizenship of the defendants and the location where

Peters’s alleged injuries occurred.
             Peters’s address indicates that he is an inmate at the New Lisbon Correctional

Facility, New Lisbon, Wisconsin. New Lisbon is located in Juneau County.

                            MOTION TO AMEND COMPLAINT

             Federal Rule of Civil Procedure 15(a) provides that a “party may amend the

party’s pleading once as a matter of course at any time before a responsive pleading is

served.” “Pleadings” include complaints, answers, replies to counterclaims and crossclaims,

and third-party complaints and answers. Fed. R. Civ. P. 7(a). A motion to dismiss is not a

“responsive pleading” under Fed. R. Civ. P. 15(a). Duda v. Bd. of Educ. of Franklin Park Pub.

Sch. Dist. No. 84, 133 F.3d 1054, 1056-57 (7th Cir. 1998).

             When Peters submitted his Amended Complaint and Jury Demand the pleading

was valid when filed; it was his one amendment as a matter of course, and no motion to

amend was necessary. Hence, the clerk’s office will be directed to file the Amended

Complaint as of the date it was submitted, September 6, 2005, and the motion to amend will

be denied as moot. The original defendants’ time for responding to the Amended Complaint

and Jury Demand will run from the date they receive this order. See Fed. R. Civ. P. 12(a)(4).

                                  MOTIONS TO DISMISS

             Often, the court denies as moot a motion to dismiss a complaint that has been

superseded by an amended complaint. Here, the request for dismissal based on insufficiency




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of process and lack of personal jurisdiction is moot.1 However, defendants Brennan and

Lafley may attack the Amended Complaint on these points if they choose to do so.

                 On the other hand, because these defendants’ objection to venue applies to the

original complaint as well as the amended complaint, the court will address the merits of that

issue at this time.

                 In the Amended Complaint and Jury Demand Peters states that he is a citizen

of Wisconsin and asserts that no defendant is a citizen or has its principal place of business

in Wisconsin. (Am. Compl. ¶ 2.) Peters asserts that Astrazeneca is incorporated and has its

principal place of business in Delaware, while Procter & Gamble is an Ohio corporation with

its principal place of business in Ohio. (Id. ¶¶ 3-4.) Allegedly, defendant Brennan is from

Pennsylvania, while Defendant Lafley is from Ohio. (Id.; Lafley Aff. ¶ 2; Brennan Aff. ¶ 2.)

Paragraph 6 of the amended complaint submits that Astrazeneca and Procter & Gamble did

business in Wisconsin through the sale of their products, but does not specify in which district.

(Am. Compl. ¶ 6.) However, Peters contends that “Prilosec was sold throughout the United

States, including in Columbia County, Wisconsin.” (Id. ¶ 9.) Peters claims that he was injured

from November 2003 through January 2005 due to his ingestion of Prilosec. (Id. ¶ 5.) He

alleges that he purchased and used the drug in Oklahoma in 2003, after being prescribed the

medication by a physician in Portage, Wisconsin, and New Lisbon, Wisconsin. (Id. ¶ 10.)

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                   The insufficiency of service of process argum ent would not justify dism issal at this tim e in any
case. Astrazeneca and Procter & Gam ble have been served, as evidenced by waivers of service of sum m ons
filed October 31, 2005, so dism issal of the whole case would be im proper. As for the claim s against the individual
defendants, the case was filed July 22, and pursuant to Fed. R. Civ. P. 4(m ), Peters has 120 days within which
to serve the defendants. Even if the service of process on the individual defendants was insufficient, Peters still
has a couple of weeks within which to correct his error and serve the two individuals in accord with Fed. R. Civ.
P. 4 or ask for m ore tim e to do so. Therefore, dism issal now would be prem ature. Further, Peters states in his
response to the m otions to dism iss that the individual defendants are not being sued in their personal capacity.
(Mem . in Opp’n at 1.) If that is the case, he m ay consider dism issing the claim s against the two individuals
anyway.

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              Portage is located in Columbia County, and, as stated above, New Lisbon is

located in Juneau County. Both of those counties are in the Western District of Wisconsin.

28 U.S.C. § 130. Peters offers no facts suggesting that any party resides in the Eastern

District of Wisconsin or that any of the pertinent events took place here.

              In a diversity jurisdiction case, venue is proper only in

              (1) a judicial district where any defendant resides, if all
              defendants reside in the same State, (2) a judicial district in which
              a substantial part of the events or omissions giving rise to the
              claim occurred, or a substantial part of property that is the subject
              of the action is situated, or (3) a judicial district in which any
              defendant is subject to personal jurisdiction at the time the action
              is commenced, if there is no district in which the action may
              otherwise be brought.

28 U.S.C. § 1391(a) (emphasis added). In this case, there is no suggestion that the

defendants reside in the same state, so subsection (1) does not apply. Further, it appears

that under subsection (2) venue may be proper in some district in Oklahoma, where Peters

used Prilosec; in the Western District of Wisconsin, where Peters claims Priolosec was sold,

where Peters received his prescriptions for Prilosec, and where Peters is incarcerated; or

perhaps in Delaware or Ohio where the defendants’ actions or omissions, such as

“downplay[ing] and understat[ing] the health hazards and risks associated with the drug” and

failing to warn consumers (Am. Compl. ¶¶ 8, 13), may have occurred. But based on the

absence of any allegations in the amended complaint pointing to events or omissions in the

Eastern District of Wisconsin, venue is not proper in the Eastern District of Wisconsin under

subsection (2). And because subsection (3) applies only if the action cannot be venued

elsewhere, venue in this district is improper.




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              However, dismissal of this case for a defect in venue would not serve the

interests of justice. Pursuant to 28 U.S.C. § 1406(a), if the interest of justice requires, the

district court may transfer a case venued in the wrong district to any district in which the case

could have been brought. Because Peters “lives” in the Western District of Wisconsin and

Prilosec was prescribed to him there, this court will transfer the case to the Western District

of Wisconsin.

              Therefore,

              IT IS ORDERED that the clerk of court detach the Amended Complaint and Jury

Demand from the motion to amend and docket it as of the date it was submitted, i.e.,

September 6, 2005.

              IT IS ORDERED that Peters’s motion to amend the complaint is denied as moot.

              IT IS ORDERED that the time for defendants Brennan and Lafley to respond

to the Amended Complaint and Jury Demand will run from service of an amended summons

and the Amended Complaint.

              IT IS ORDERED that defendants’ motions to dismiss are denied.

              IT IS ORDERED that the case is transferred to the United States District Court

for the Western District of Wisconsin pursuant to 28 U.S.C. § 1406(a). All future filing should

be made with that court at 120 North Henry Street, Madison, WI 53703-4304.

              Dated at Milwaukee, Wisconsin, this 3rd day of November, 2005.

                                                         BY THE COURT


                                                         s/ C. N. CLEVERT, JR.
                                                         C. N. CLEVERT, JR.
                                                         U. S. District Judge


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